Case 5:16-cv-01598-DMG-SK Document 75 Filed 04/02/19 Page 1 of 1 Page ID #:436




                    UNITED STATES DISTRICT COURT
                  CENTRAL DISTRICT OF CALIFORNIA


  CHARLIE BELLS, JR.,                  CASE NO. 5:16-CV-1598-DMG (SK)
                      Plaintiff,
             v.                        JUDGMENT
  GROVES, et al.,
                      Defendants.



       Pursuant to the Order Accepting the Report and Recommendation of
 the United States Magistrate Judge, IT IS ADJUDGED that Defendant’s
 motion for summary judgment is granted and the action is dismissed
 without prejudice.



 DATED: April 2, 2019
                                    DOLLY M. GEE
                                    UNITED STATES DISTRICT JUDGE
